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 1   LAW OFFICE OF MONICA L. BERMUDEZ
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 3   Bakersfield, CA 93301
     Tel: (661)322-5295
 4   Email: monica@lawbermudez.com

 5   Attorney for:
     Jason Schroder
 6
                                     UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       Case No. 1:17-CR-0004 LJO
10
                        Plaintiff,                   STIPULATION AND ORDER TO
11                                                   CONTINUE SENTENCING HEARING
            v.
12                                                 Date: September 25, 2017
     JASON SCHRODER,                               Time: 8:30 A.M.
13
                                                   Courtroom: LJO
                        Defendants.
14

15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   LAWRENCE J. O’NEILL AND MEGAN RICHARDS, ASSISTANT UNITED STATES
17
     ATTORNEY:
18
            COMES NOW Defendant, JASON SCHRODER, by and through his attorney of record,
19
     MONICA L. BERMUDEZ, hereby requesting that the sentencing hearing currently set for
20
21   Monday, September 18, 2017, be continued to Monday, September 25, 2017 at 8:30 a.m.

22          The co-defendant in this matter, Delbert Smith, is currently scheduled for sentencing on

23   September 25, 2017. Defense Counsel requests a continuance of one week so Mr. Schroder can
24   be sentenced the same day as Mr. Smith. Counsel has spoken to AUSA Megan Richards and she
25
     has no objection to continuing this matter.
26
            The parties also agree the delays resulting from the continuance shall be excluded in the
27
     interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
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                                                     1
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 1
             IT IS SO STIPULATED.
 2                                                           Respectfully Submitted,
     DATED: 9/12/17                                          /s/ Monica L. Bermudez___
 3                                                           MONICA L. BERMUDEZ
                                                             Attorney for Defendant
 4                                                           Jason Schroder
 5

 6
     DATED: 9/12/17                                          /s/Megan Richards ________
 7                                                           MEGAN RICHARDS
                                                             Assistant U.S. Attorney
 8

 9

10                                            ORDER
11
             GOOD CAUSE APPEARING, the sentencing hearing currently set for September 18,
12
     2017, before Honorable Lawrence J. O’Neill is continued to Monday, September 25, 2017 at 8:30
13
     a.m..
14

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16   IT IS SO ORDERED.
17
        Dated:    September 14, 2017                    /s/ Lawrence J. O’Neill _____
18                                             UNITED STATES CHIEF DISTRICT JUDGE

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